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                                  9                       UNITED STATES DISTRICT COURT
                                 10
                                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                      CRYSTAL REDICK, an individual,           CASE NO.:
                                 12
                                                          Plaintiff,
3055 Wilshire Blvd, 12th Floor
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                                 13                                                  COMPLAINT
                                            v.                                    1. VIOLATIONS OF THE
                                 14
                                                                                     AMERICANS WITH
                                 15   GEMELLI RESTAURANT
                                                                                     DISABILITIES ACT OF 1990, 42
                                      PARTNERS, L.P. d/b/a ROSSOBLU,
                                 16                                                  U.S.C. § 12181
                                      a California limited partnership; and
                                                                                  2. VIOLATIONS OF THE UNRUH
                                 17   DOES 1 to 10, inclusive,
                                                                                     CIVIL RIGHTS ACT,
                                 18                                                  CALIFORNIA CIVIL CODE § 51
                                                         Defendants.
                                                                                     DEMAND FOR JURY TRIAL
                                 19
                                 20
                                            Plaintiff Crystal Redick (“Plaintiff”) brings this action based upon personal
                                 21
                                      knowledge as to herself and her own acts, and as to all other matters upon
                                 22
                                      information and belief, based upon, inter alia, the investigations of her attorneys.
                                 23
                                                                NATURE OF THE ACTION
                                 24
                                            1.     Plaintiff is a visually impaired and legally blind individual who
                                 25
                                      requires screen-reading software to read website content using her computer.
                                 26
                                      Plaintiff uses the terms “blind” or “visually impaired” to refer to all people with
                                 27
                                      visual impairments who meet the legal definition of blindness in that they have a
                                 28
                                                                     1
                                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  2   who meet this definition have limited vision. Others have no vision.
                                  3         2.     Plaintiff brings this Complaint to secure redress against Gemelli
                                  4   Restaurant Partners, L.P. d/b/a Rossoblu (hereafter “Defendant”), and DOES 1-10,
                                  5   for its failure to design, construct, maintain, and operate its website to be fully and
                                  6   equally accessible to and independently usable by Plaintiff and other blind or
                                  7   visually impaired individuals. Defendant’s denial of full and equal access to its
                                  8   website, and therefore denial of its products and services offered thereby and in
                                  9   conjunction with its physical location, is a violation of Plaintiff’s rights under the
                                 10   Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act
                                 11   (“UCRA”).
                                 12         3.     Because Defendant’s website, https://www.rossoblula.com/ (the
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                                      “website” or “Defendant’s website”), is not fully or equally accessible to blind and
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                                 13
                                 14   visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 15   injunction to cause a change in Defendant’s corporate policies, practices, and
                                 16   procedures so that Defendant’s website will become and remain accessible to
                                 17   Plaintiff and other blind and visually impaired consumers.
                                 18                                     THE PARTIES
                                 19         4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 20   County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 21   person, and a member of a protected class of individuals under the ADA, pursuant
                                 22   to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 23   at 28 CFR §§ 36.101 et seq.
                                 24         5.     Defendant is a California limited partnership with its headquarters in
                                 25   Los Angeles, California. Defendant’s servers for the website are in the United
                                 26   States. Defendant conducts a large amount of its business in California. The
                                 27   physical location where Defendant’s goods and services are sold to the public
                                 28   constitutes a place of public accommodation. Defendant’s restaurant provides to
                                                                            2
                                                      COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   the public important goods and services. Defendant’s website provides consumers
                                  2   with access to Defendant’s handmade pastas, market-fresh produce, extensive in-
                                  3   house butchery and salumi program, and a wine list offering unique varietals
                                  4   focusing on family-owned grower wineries.             Consumers can also access
                                  5   information regarding Defendant’s menus, Defendant’s pre-order 7-course
                                  6   experience to-go, the ability to make dine-in reservations, order pickup or delivery,
                                  7   buy gift cards online, Defendant’s story, events, information about Defendant’s
                                  8   commitment to the community, careers with Defendant, the ability to shop for
                                  9   Defendant’s merchandise, and much more.
                                 10         6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 11   Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 12   complaint to allege the true names and capacities of DOES 1 to 10 if and when
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                                 13   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 14   Defendant sued herein as a DOE is legally responsible in some manner for the
                                 15   events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 16   proximately caused injuries and damages to Plaintiff as set forth below.
                                 17         7.     Defendant’s restaurant is a public accommodation within the
                                 18   definition of Title III of the ADA, 42 U.S.C. § 12181(7).
                                 19         8.     The website, https://www.rossoblula.com/, is a service, privilege, or
                                 20   advantage of Defendant’s services, products, and location.
                                 21                            JURISDICTION AND VENUE
                                 22         9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 23   has been and continues to commit the acts or omissions alleged herein in the Central
                                 24   District of California, that caused injury, and violated rights prescribed by the ADA
                                 25   and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                 26   Plaintiff’s claims occurred in the Central District of California. Specifically, on
                                 27   several separate occasions, Plaintiff has been denied the full use and enjoyment of
                                 28   the facilities, goods, and services of Defendant’s website in Los Angeles County.
                                                                                3
                                                       COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   The access barriers Plaintiff has encountered on Defendant’s website have caused
                                  2   a denial of Plaintiff’s full and equal access multiple times in the past and now deter
                                  3   Plaintiff on a regular basis from accessing Defendant’s website. Similarly, the
                                  4   access barriers Plaintiff has encountered on Defendant’s website have impeded
                                  5   Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                  6   brick-and-mortar location.
                                  7         10.    This Court also has subject-matter jurisdiction over this action
                                  8   pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                  9   under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 10         11.    This Court has personal jurisdiction over Defendant because it
                                 11   conducts and continues to conduct a substantial and significant amount of business
                                 12   in the State of California, County of Sacramento, and because Defendant’s
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                                 13   offending website is available across California.
                                 14         12.    Venue is proper in the Eastern District of California pursuant to 28
                                 15   U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 16   continues to conduct a substantial and significant amount of business in this District,
                                 17   Defendant is subject to personal jurisdiction in this District, and a substantial
                                 18   portion of the conduct complained of herein occurred in this District.
                                 19     THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 20         13.    The Internet has become a significant source of information, a portal,
                                 21   and a tool for conducting business, doing everyday activities such as shopping,
                                 22   learning, banking, researching, as well as many other activities for sighted, blind,
                                 23   and visually impaired persons alike.
                                 24         14.    In today's tech-savvy world, blind and visually impaired people have
                                 25   the ability to access websites using keyboards in conjunction with screen access
                                 26   software that vocalizes the visual information found on a computer screen. This
                                 27   technology is known as screen-reading software.          Screen-reading software is
                                 28   currently the only method a blind or visually impaired person may use to
                                                                          4
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                                  1   independently access the internet. Unless websites are designed to be read by
                                  2   screen-reading software, blind and visually impaired persons are unable to fully
                                  3   access websites, and the information, products, and services contained thereon.
                                  4         15.    Blind and visually impaired users of Windows operating system-
                                  5   enabled computers and devices have several screen-reading software programs
                                  6   available to them. Some of these programs are available for purchase and other
                                  7   programs are available without the user having to purchase the program separately.
                                  8   Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                  9   popular, separately purchased and downloaded screen-reading software program
                                 10   available for a Windows computer.
                                 11         16.    For screen-reading software to function, the information on a website
                                 12   must be capable of being rendered into text. If the website content is not capable
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                                 13   of being rendered into text, the blind or visually impaired user is unable to access
                                 14   the same content available to sighted users.
                                 15         17.    The international website standards organization, the World Wide
                                 16   Web Consortium, known throughout the world as W3C, has published Success
                                 17   Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 18   hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 19   accessible to blind and visually impaired people. These guidelines are adopted,
                                 20   implemented, and followed by most large business entities who want to ensure their
                                 21   websites are accessible to users of screen-reading software programs. Though
                                 22   WCAG 2.1 has not been formally adopted as the standard for making websites
                                 23   accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 24   maintain, and provide a website that is accessible under the ADA to the public.
                                 25         18.    Within this context, the Ninth Circuit has recognized the viability of
                                 26   ADA claims against commercial website owners/operators with regard to the
                                 27   accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 906-
                                 28   06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                                                               5
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                                  1   addition to the numerous courts that have already recognized such application.
                                  2         19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                  3   is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                  4   Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  5   Civil Rights Act. Cal. Civ. Code § 51(f).
                                  6         20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                  7   equal access to their accommodations, facilities, and services.         A substantial
                                  8   motivating reason for Defendant to deny Plaintiff access was the perception of
                                  9   Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 10   substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 11   to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 12   in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
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                                 13   51.
                                 14         21.    Inaccessible or otherwise non-compliant websites pose significant
                                 15   access barriers to blind and visually impaired persons.              Common barriers
                                 16   encountered by blind and visually impaired persons include, but are not limited to,
                                 17   the following:
                                 18                a. A text equivalent for every non-text element is not provided;
                                 19                b. Title frames with text are not provided for identification and
                                 20                    navigation;
                                 21                c. Equivalent text is not provided when using scripts;
                                 22                d. Forms with the same information and functionality as for sighted
                                 23                    persons are not provided;
                                 24                e. Information about the meaning and structure of content is not
                                 25                    conveyed by more than the visual presentation of content;
                                 26                f. Text cannot be resized without assistive technology up to 200
                                 27                    percent without loss of content or functionality;
                                 28                g. If the content enforces a time limit, the user is not able to extend,
                                                                               6
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                                  1                  adjust or disable it;
                                  2               h. Web pages do not have titles that describe the topic or purpose;
                                  3               i. The purpose of each link cannot be determined from the link text
                                  4                  alone or from the link text and its programmatically determined link
                                  5                  context;
                                  6               j. One or more keyboard operable user interface lacks a mode of
                                  7                  operation where the keyboard focus indicator is discernible;
                                  8               k. The default human language of each web page cannot be
                                  9                  programmatically determined;
                                 10               l. When a component receives focus, it may initiate a change in
                                 11                  context;
                                 12               m. Changing the setting of a user interface component may
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                                 13                  automatically cause a change of context where the user has not been
                                 14                  advised before using the component;
                                 15               n. Labels or instructions are not provided when content requires user
                                 16                  input;
                                 17               o. In content which is implemented by using markup languages,
                                 18                  elements do not have complete start and end tags, elements are not
                                 19                  nested according to their specifications, elements may contain
                                 20                  duplicate attributes and/or any IDs are not unique;
                                 21               p. Inaccessible Portable Document Format (PDFs); and
                                 22               q. The name and role of all User Interface elements cannot be
                                 23                  programmatically determined; items that can be set by the user
                                 24                  cannot be programmatically set; and/or notification of changes to
                                 25                  these items is not available to user agents, including assistive
                                 26                  technology.
                                 27                             FACTUAL BACKGROUND
                                 28         22.   Defendant offers the https://www.rossoblula.com/ website to the
                                                                           7
                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   public. The website offers features which should allow all consumers to access the
                                  2   goods and services which Defendant offers in connection with its physical location.
                                  3   The goods and services offered by Defendant include, but are not limited to:
                                  4   Defendant’s menus, which features starters like a Rossoblu bread basket, a 24-
                                  5   month Prosciutto di San Daniele, marinated Tuscan olives, dry-aged tuna tartare,
                                  6   Valbruna’s eggplant, Ede’s market salad, mixed baby lettuces and herbs, braised
                                  7   pork meatballs, seafood fritto misto, and grilled house sausage; entrees like a hanger
                                  8   steak, dry-aged branzino, chicken al mattone, Ilario’s grigliata, a 28-day dry-aged
                                  9   Holstein ribeye; sides like roasted rainbow cauliflower, charred broccolini, wilted
                                 10   Bloomsdale spinach, Apennine fries; pastas like Olimpia’s tagliatelle, maltagliati,
                                 11   tortelloni, risotto, tortellini; as well as Superfine pizza of varying styles and flavors.
                                 12   Consumers can also access information regarding Defendant’s pre-order 7-course
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                                 13   experience to-go where consumers can enjoy a multi-course meal from the comfort
                                 14   of their home, which is available via curbside pickup or local delivery.
                                 15   Furthermore, Defendant’s website allows consumers to access information
                                 16   regarding the ability to make dine-in reservations, order pickup or delivery, buy gift
                                 17   cards online, the ability to learn about Defendant’s story, events with Rossoblu,
                                 18   information about Defendant’s commitment to the community including with the
                                 19   Stand Together foundation, careers with Defendant, the ability to shop for
                                 20   Defendant’s merchandise like a unisex T-shirt, trucker cap, sweatshirt, or access to
                                 21   an authentic handmade Italian pasta making class, and much more.
                                 22         23.    Based on information and belief, it is Defendant’s policy and practice
                                 23   to deny Plaintiff, along with other blind or visually impaired users, access to
                                 24   Defendant’s website, and to therefore specifically deny the goods and services that
                                 25   are offered and integrated within Defendant’s restaurant. Due to Defendant’s
                                 26   failure and refusal to remove access barriers on its website, Plaintiff and other
                                 27   visually impaired persons have been and are still being denied equal and full access
                                 28   to Defendant’s restaurant and the numerous goods, services, and benefits offered to
                                                                              8
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                                  1   the public through Defendant’s website.
                                  2   DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                  3                     CODE § 51(f) DENY PLAINTIFF ACCESS
                                  4         24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                  5   use a computer without the assistance of screen-reading software. However,
                                  6   Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                  7   as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                  8   https://www.rossoblula.com/ on several separate occasions using the JAWS and/or
                                  9   VoiceOver screen-readers.
                                 10         25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 11   encountered multiple access barriers which denied Plaintiff full and equal access to
                                 12   the facilities, goods, and services offered to the public and made available to the
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                                 13   public on Defendant’s website. Due to the widespread access barriers Plaintiff
                                 14   encountered on Defendant’s website, Plaintiff has been deterred, on a regular basis,
                                 15   from accessing Defendant’s website. Similarly, the access barriers Plaintiff has
                                 16   encountered on Defendant’s website have deterred Plaintiff from visiting
                                 17   Defendant’s physical location.
                                 18         26.    While attempting to navigate Defendant’s website, Plaintiff
                                 19   encountered multiple accessibility barriers for blind or visually impaired people that
                                 20   include, but are not limited to, the following:
                                 21                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 22                   is invisible code embedded beneath a graphic or image on a website
                                 23                   that is read to a user by a screen-reader. For graphics or images to
                                 24                   be fully accessible for screen-reader users, it requires that alt-text
                                 25                   be coded with each graphic or image so that screen-reading
                                 26                   software can speak the alt-text to describe the graphic or image
                                 27                   where a sighted user would just see the graphic or image. Alt-text
                                 28                   does not change the visual presentation, but instead a text box
                                                                            9
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                                  1                    shows when the cursor hovers over the graphic or image. The lack
                                  2                    of alt-text on graphics and images prevents screen-readers from
                                  3                    accurately vocalizing a description of the image or graphic;
                                  4                 b. Empty Links that contain No Text causing the function or purpose
                                  5                    of the link to not be presented to the user. This can introduce
                                  6                    confusion for keyboard and screen-reader users;
                                  7                 c. Redundant Links where adjacent links go to the same URL address
                                  8                    which results in additional navigation and repetition for keyboard
                                  9                    and screen-reader users; and
                                 10                 d. Linked Images missing alt-text, which causes problems if an image
                                 11                    within a link does not contain any descriptive text and that image
                                 12                    does not have alt-text. A screen reader then has no content to
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                                 13                    present the user as to the function of the link, including information
                                 14                    or links for and contained in PDFs.
                                 15          27.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                 16    on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 17    website.       Plaintiff     has   visited   prior   iterations   of   the    website,
                                 18    https://www.rossoblula.com/, and also encountered barriers to access on
                                 19    Defendant’s website.
                                 20          28.    Despite past and recent attempts to do business with Defendant on its
                                 21    website, the numerous access barriers contained on the website and encountered by
                                 22    Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 23    Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                 24    from accessing Defendant’s website. Likewise, based on the numerous access
                                 25    barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
                                 26    of goods and services offered in Defendant’s restaurant and from making purchases
                                 27    at such physical location.
                                 28
                                                                      10
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                                  1            DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                  2         DEFENDANT’S RESTAURANT LOCATION TO SUBJECT THE
                                  3       WEBSITE TO THE REQUIREMENTS OF THE AMERICANS WITH
                                  4                                   DISABILITIES ACT
                                  5          29.    In the Ninth Circuit a denial of equal access to a website can support
                                  6    an ADA claim if the denial has prevented or impeded a visually impaired plaintiff
                                  7    from equal access to, or enjoyment of, the goods and services offered at the
                                  8    defendant’s physical facilities. See Martinez v. San Diego County Credit Union, 50
                                  9    Cal. App. 5th, 1048, 1063 (2020) (citing Robles v. Domino’s Pizza, LLC, 913 F.3d
                                 10    898, 905-06 (9th Cir. 2019).
                                 11          30.    Defendant’s website is subject to the ADA because the goods and
                                 12    services offered on the website are an extension of the goods and services offered
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                                       in Defendant’s brick-and-mortar restaurant. For example, the goods and the services
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                                 13
                                 14    which can be procured online are available for purchase in Defendant’s brick-and-
                                 15    mortar restaurant. Thus, since the Website “facilitate[s] access to the goods and
                                 16    services of a place of public accommodation”, the Website falls within the
                                 17    protection of the ADA because the Website “connects customers to the goods and
                                 18    services of [Defendant’s] physical” restaurant. Id. at 905.
                                 19          31.    Defendant’s website is replete with barriers, including but not limited
                                 20    to, links and images without discernible names, links that do not work and heading
                                 21    elements that are not in a sequentially descending order, which impede Plaintiff
                                 22    from accessing the goods and services of Defendant’s website. For example,
                                 23    Plaintiff could not use her screen reader to locate Defendant’s menu or understand
                                 24    the purpose for certain links and images on Defendant’s website because the links,
                                 25    images and elements associated with Defendant’s website did not work with
                                 26    Plaintiff’s screen reading software. When links, images and elements do not work,
                                 27    that makes them unusable for users who rely on screen-readers, like Plaintiff. Links
                                 28    that do not work and images that lack sufficient alternative text, like on Defendant’s
                                                                                11
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                                  1    website, cannot be properly utilized by Plaintiff’s screen reader, thereby preventing
                                  2    Plaintiff from accessing the goods and services available on Defendant’s website.
                                  3    If Defendant had sufficiently coded the links, images and elements on its website
                                  4    to be readable by Plaintiff’s screen-reader, Plaintiff could have been able to select
                                  5    and read Defendant’s menu and even completed an online reservation, as a sighted
                                  6    individual could.
                                  7          32.    Accordingly, Plaintiff was denied the ability to browse Defendant’s
                                  8    website enough to obtain sufficient information about Defendant’s menu items, in
                                  9    order to make a purchase because Defendant failed to have the proper procedures
                                 10    in place to ensure that content uploaded to the website contained the proper coding
                                 11    to convey the meaning and structure of the website and the goods and services
                                 12    provided by Defendant.
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                                 13          DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 14          33.    Due to the inaccessibility of the Defendant’s website, blind and
                                 15    visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 16    and equally use or enjoy the facilities and services Defendant offers to the public
                                 17    on its website. The access barriers Plaintiff has encountered have caused a denial
                                 18    of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
                                 19    basis from accessing the website.
                                 20          34.    These access barriers on Defendant’s website have deterred Plaintiff
                                 21    from enjoying the goods and services of Defendant’s brick-and-mortar restaurant
                                 22    which are offered through Defendant’s website in a full and equal manner to sighted
                                 23    individuals. Plaintiff and Class Members intend to visit the Defendant’s restaurant
                                 24    in the near future if Plaintiff and Class Members could access Defendant’s website
                                 25    as a sighted person can.
                                 26          35.    If the website were equally accessible to all, Plaintiff could
                                 27    independently navigate the website and complete a desired transaction, as sighted
                                 28    individuals do.
                                                                         12
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                                  1          36.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                  2    knowledge of the access barriers that make these services inaccessible and
                                  3    independently unusable by blind and visually impaired people.
                                  4          37.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                  5    with equal access to the website, Plaintiff alleges that Defendant engaged in acts of
                                  6    intentional discrimination, including, but not limited to, the following policies or
                                  7    practices: constructing and maintaining a website that is inaccessible to visually
                                  8    impaired individuals, including Plaintiff; failing to construct and maintain a website
                                  9    that is sufficiently intuitive so as to be equally accessible to visually impaired
                                 10    individuals, including Plaintiff; and failing to take actions to correct these access
                                 11    barriers in the face of substantial harm and discrimination to blind and visually
                                 12    impaired consumers, such as Plaintiff, as a member of a protected class.
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                                 13          38.    The Defendant uses standards, criteria or methods of administration
                                 14    that have the effect of discriminating or perpetuating the discrimination against
                                 15    others, as alleged herein.
                                 16          39.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 17    seeks in this action. In relevant part, the ADA requires:
                                 18          In the case of violations of … this title, injunctive relief shall include
                                             an order to alter facilities to make such facilities readily accessible to
                                 19
                                             and usable by individuals with disabilities …. Where appropriate,
                                 20          injunctive relief shall also include requiring the … modification of a
                                             policy …. 42 U.S.C. § 12188(a)(2).
                                 21
                                 22          40.    Because Defendant’s website has never been equally accessible, and
                                 23    because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 24    the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 25    U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 26    retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 27    with WCAG 2.1 guidelines for Defendant’s website.             The website must be
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                                  1    accessible for individuals with disabilities who use desktop computers, laptops,
                                  2    tablets, and smartphones. Plaintiff seeks that this permanent injunction require
                                  3    Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
                                  4    employees and agents who develop the website on accessibility compliance under
                                  5    the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                  6    the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-
                                  7    impaired persons to ensure that the Defendant’s website complies under the WCAG
                                  8    2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                  9    Defendant’s website, with contact information for users to report accessibility-
                                 10    related problems and require that any third-party vendors who participate on the
                                 11    Defendant’s website to be fully accessible to the disabled by conforming with
                                 12    WCAG 2.1.
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                                 13          41.    If Defendant’s website were accessible, Plaintiff could independently
                                 14    access information about the restaurant’s location, hours, services offered, and
                                 15    goods available for online purchase.
                                 16          42.    Although Defendant may currently have centralized policies regarding
                                 17    maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 18    reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 19    and independently usable by, blind and other visually impaired consumers.
                                 20          43.    Defendant has, upon information and belief, invested substantial sums
                                 21    in developing and maintaining Defendant’s website, and Defendant has generated
                                 22    significant revenue from Defendant’s website. These amounts are far greater than
                                 23    the associated cost of making Defendant’s website equally accessible to visually
                                 24    impaired customers.
                                 25          44.    Without injunctive relief, Plaintiff will continue to be unable to
                                 26    independently use Defendant’s website, violating their rights.
                                 27    ///
                                 28    ///
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                                  1                                         COUNT I
                                  2       VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                  3                                 U.S.C. § 12181 ET SEQ.
                                  4          45.    Plaintiff alleges and incorporates herein by reference each and every
                                  5    allegation contained in paragraphs 1 through 44, inclusive, of this Complaint as if
                                  6    set forth fully herein.
                                  7          46.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                  8    provides: “No individual shall be discriminated against on the basis of disability in
                                  9    the full and equal enjoyment of the goods, services, facilities, privileges,
                                 10    advantages, or accommodations of any place of public accommodation by any
                                 11    person who owns, leases (or leases to), or operates a place of public
                                 12    accommodation.” 42 U.S.C. § 12182(a).
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                                 13          47.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 14    discrimination also includes, among other things: “a failure to make reasonable
                                 15    modifications in policies, practices, or procedures, when such modifications are
                                 16    necessary to afford such goods, services, facilities, privileges, advantages, or
                                 17    accommodations to individuals with disabilities, unless the entity can demonstrate
                                 18    that making such modifications would fundamentally alter the nature of such goods,
                                 19    services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 20    take such steps as may be necessary to ensure that no individual with a disability is
                                 21    excluded, denied services, segregated or otherwise treated differently than other
                                 22    individuals because of the absence of auxiliary aids and services, unless the entity
                                 23    can demonstrate that taking such steps would fundamentally alter the nature of the
                                 24    good, service, facility, privilege, advantage, or accommodation being offered or
                                 25    would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 26    accommodation shall take those steps that may be necessary to ensure that no
                                 27    individual with a disability is excluded, denied services, segregated or otherwise
                                 28    treated differently than other individuals because of the absence of auxiliary aids
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                                  1    and services, unless the public accommodation can demonstrate that taking those
                                  2    steps would fundamentally alter the nature of the goods, services, facilities,
                                  3    privileges, advantages, or accommodations being offered or would result in an
                                  4    undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                  5    order to be effective, auxiliary aids and services must be provided in accessible
                                  6    formats, in a timely manner, and in such a way as to protect the privacy and
                                  7    independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                  8          48.    Defendant’s location is a “public accommodation” within the meaning
                                  9    of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                 10    from the sale of its amenities and services, privileges, advantages, and
                                 11    accommodations in California through its location, related services, privileges,
                                 12    advantages, and accommodations, and its website, https://www.rossoblula.com/, is
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                                 13    a service, privilege, advantage, and accommodation provided by Defendant that is
                                 14    inaccessible to customers who are visually impaired like Plaintiff.              This
                                 15    inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 16    access to the facilities and services, privileges, advantages, and accommodations
                                 17    that Defendant makes available to the non-disabled public. Defendant is violating
                                 18    the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 19    denies visually impaired customers the services, privileges, advantages, and
                                 20    accommodations provided by https://www.rossoblula.com/. These violations are
                                 21    ongoing.
                                 22          49.    Defendant’s actions constitute intentional discrimination against
                                 23    Plaintiff on the basis of a disability in violation of the Americans with Disabilities
                                 24    Act, 42 U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is
                                 25    inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 26    failed to take adequate actions to correct these barriers even after being notified of
                                 27    the discrimination that such barriers cause.
                                 28          50.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
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                                  1    set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                  2                                         COUNT II
                                  3       VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                  4                               CIVIL CODE § 51 ET SEQ.
                                  5           51.    Plaintiff alleges and incorporates herein by reference each and every
                                  6    allegation contained in paragraphs 1 through 51, inclusive, of this Complaint as if
                                  7    set forth fully herein.
                                  8           52.    Defendant’s location is a “business establishment” within the meaning
                                  9    of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 10    revenue from the sale of its services in California through its location and related
                                 11    services, and https://www.rossoblula.com/ is a service provided by Defendant that
                                 12    is inaccessible to customers who are visually impaired like Plaintiff.              This
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                                 13    inaccessibility denies visually impaired customers full and equal access to
                                 14    Defendant’s facilities and services that Defendant makes available to the non-
                                 15    disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                 16    Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                 17    services provided by https://www.rossoblula.com/. These violations are ongoing.
                                 18           53.    Defendant’s actions constitute intentional discrimination against
                                 19    Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
                                 20    California Civil Code § 51 et seq. in that: Defendant has constructed a website that
                                 21    is inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 22    failed to take adequate actions to correct these barriers even after being notified of
                                 23    the discrimination that such barriers cause.
                                 24           54.    Defendant is also violating the Unruh Civil Rights Act, California
                                 25    Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 26    violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 27    of the California Civil Code provides that a violation of the right of any individual
                                 28    under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                                                               17
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                                  1          55.      The actions of Defendant were and are in violation of the Unruh Civil
                                  2    Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                  3    injunctive relief remedying the discrimination.
                                  4          56.      Plaintiff is also entitled to statutory minimum damages pursuant to
                                  5    California Civil Code § 52 for each and every offense.
                                  6          57.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                  7          58.      Plaintiff is also entitled to a preliminary and permanent injunction
                                  8    enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                  9    Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                 10    https://www.rossoblula.com/ readily accessible to and usable by visually impaired
                                 11    individuals.
                                 12                                   PRAYER FOR RELIEF
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                                 13          WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                 14    in her favor and against Defendant as follows:
                                 15          A.       A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 16                   12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 17                   enjoining Defendant from violating the Unruh Civil Rights Act and
                                 18                   ADA and requiring Defendant to take the steps necessary to make
                                 19                   https://www.rossoblula.com/ readily accessible to and usable by
                                 20                   visually impaired individuals;
                                 21          B.       An award of statutory minimum damages of $4,000 per offense
                                 22                   pursuant to section 52(a) of the California Civil Code.
                                 23          C.       For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 24                   52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 25          D.       For pre-judgment interest to the extent permitted by law;
                                 26          E.       For costs of suit; and
                                 27          F.       For such other and further relief as the Court deems just and proper.
                                 28    ///
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                                  1                             DEMAND FOR JURY TRIAL
                                  2           Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                  3    triable.
                                  4
                                  5    Dated: June 1, 2022                           Respectfully Submitted,
                                  6
                                                                                     /s/ Thiago M. Coelho
                                  7                                                  Thiago M. Coelho
                                  8                                                  Binyamin I. Manoucheri
                                                                                     WILSHIRE LAW FIRM
                                  9                                                  Attorneys for Plaintiff
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